MICHAEL PAPP, Petitioner v. COMMISSIONER OF INTERNAL REVENUE, Respondent; MICHAEL PAPP and BETTY PAPP, Petitioners v. COMMISSIONER OF INTERNAL REVENUE, RespondentPapp v. CommissionerDocket Nos. 5881-77, 5882-77, 11501-78.United States Tax CourtT.C. Memo 1981-20; 1981 Tax Ct. Memo LEXIS 719; 41 T.C.M. (CCH) 725; T.C.M. (RIA) 81020; January 26, 1981.  Michael Papp, pro se.  Joseph Peters, for the respondent.  FEATHERSTONMEMORANDUM FINDINGS OF FACT AND OPINION FEATHERSTON, Judge: This case was tried before Special Trial Judge Marvin F. Peterson pursuant to Rule 180, Rules of Practice and Procedure of the United States Tax Court.  His report was served on the parties.  No exceptions to the report were filed.  After careful consideration, the Special Trial Judge's report, which is set forth below, is adopted.  REPORT OF SPECIAL TRIAL JUDGE **721 PETERSON, Special Trial Judge: In these consolidated cases, respondent determined the following deficiencies and an addition to tax under section 6653(a): 1Addition to TaxDocket No.YearDeficiency(sec. 6653(a))5881-771972$ 1,042.26$ 05882-7719731,798.1605882-7719741,199.13011501-7819752,400.00120.00The issues for decision are (1) whether petitioner Michael Papp or a trust is taxable on certain wages earned during the year which were assigned to a trust; (2) whether other income and expense items, reported by the trust, should have been reported by petitioners; and (3) whether any part of the underpayment of tax for 1975 was due to negligence or intentional disregard of rules and regulations within the meaning of section 6653(a).  FINDINGS OF FACT Some of the facts have been stipulated by the parties and are found accordingly.  Petitioners Michael and Betty Rapp resided in Milwaukee, Wisconsin, at the time the petitions were filed herein.  For the taxable year*722  1972, petitioner Michael Papp (hereinafter petitioner) filed a separate Federal income tax return with the Internal Revenue Service Center, Kansas City, Missouri.  For the taxable years 1973 through 1975, petitioners filed joint Federal income tax returns with the Internal Revenue Service Center, Kansas City, Missouri.  On August 12, 1972, petitioner executed a document entitled "Declaration of Trust of this Constitutional Trust." The document ws executed for the purpose of creating a trust known as The Michael Papp Family Estate (A Trust) (hereinafter the trust).  The declared purpose of the trust was-- to accept from Michael Papp the exclusive use of his lifetime services including ALL his earned remuneration from ANY outside source, * * * and to accept also, other items of his personal property * * *.  The initial trustees were Mary E. Taylor and Peter Y. Taylor, Sr. During 1972 George T. Horvat, Thomas Horvat, and petitioner also became trustees of the trust.  George T. Horvat and Thomas Horvat were petitioner's close friends, and petitioner met Mary E. Taylor and Peter Y. Taylor, Sr., through George T. Horvat.  In 1973 Peter Y. Taylor, Sr., resigned as trustee and was replaced*723  by Betty Raybon, who later married petitioner.  The trust was to continue for a period of 25 years unless the trustees unanimously determined to terminate the trust at an earlier date at which time the assets of the trust would be distributed to the beneficiaries. Petitioner executed an additional documents on August 12, 1972, which irrevocably conveyed to the trust-- ALL my earned remuneration and to be earned remuneration from all and any outside source, and ALL my right, title and interest in such earnings from my services rendered or to be rendered * * *.  Specifically, the document provided that "my current outside sources of earned remuneration as of THIS date, include services rendered or to be rendered through and/or to the Zien Plumbing and Heating Company," and further-- ALL checks, vouchers, commissions, emoluments of whatsoever nature made payable to ME for any and all outside services rendered or to be rendered by ME, as detailed above in this Conveying Agreement, will henceforth be endorsed over and/or deposited to the account of, or registered in the name of the above named Trust.  In return petitioner received all of the 100 units of beneficial interest in*724  the trust.  On September 3, 1972, petitioner returned his certificate of ownership of 100 units of beneficial interest for cancellation and for reissuance of 90 units to Betty Raybon (currently petitioner's wife, Betty Papp) and 10 units to petitioner.  All distributions to the beneficiaries were discretionary with the trustees.  During the taxable years at issue the trust paid various personal and living expenses of petitioners.  During the years at issue petitioner received salary payments for work performed for Zien Plumbing and Heating and other employers.  None of petitioner's employers entered into an employment contract with the trust.  Wages were paid directly to petitioner who would, in turn, endorse the check and deposit it in the trust's bank account.  In addition, petitioners received interest income from a savings account, however this amount was reported by the trust, not petitioners.  OPINION The first question to resolve in the instant case is whether certain wages earned by petitioner are properly income of the trust or of petitioner.  Respondent contends that petitioner is taxable on these amounts since he earned the income and that any assignment to the trust*725  did not effectively transfer the incidence of taxation to the trust.  Except for respondent's contention that the trust should be ignored since it lacks economic reality, respondent recognizes the existence of the trust, but contends the income should be taxed to petitioner under the grantor trust rules of sections 671 through 678.  Petitioner on the other hand agrees that his personal services actually earned the income, but he contends that the document of August 12, 1972, which conveyed his "earned remuneration and to be earned remuneration" did transfer, as of the date of the document, his earnings from whatever source to the trust.  Further, petitioner argues, because the transfer was made prior to the actual earning of the income, the assignment of income theory is inapposite.  As stated in petitioner's brief he is in full accord with the maxim set forth in Commissioner v. Culbertson,337 U.S. 733"&gt;337 U.S. 733, 739, 749 (1949), that income is taxed to the one who earns it.  Further, petitioner agrees with our decision in American Savings Bank v. Commissioner,56 T.C. 828"&gt;56 T.C. 828 (1971), where we held that the entity that controls the earning of the income is the*726  true earner of that income.  Since both parties fully agree on the legal principle involved, it only remains for the Court to apply this law to the facts of this case.  Based on the terms of the conveyance of August 12, 1972, petitioner transferred his earned or to be earned income. Under these terms petitioner simply conveyed his current and future income and there would be no transfer of the money to the trust until it had been collected.  Under these facts the conveyance is a classical case of a taxpayer attempting to transfer the incidence of taxation of his earned income to another entity. Under the terms of the document any income that was earned at the time of the conveyance was assigned to the trust and, in addition, all income to be earned in the future.  An assignment which attempts to assign income earned by the taxpayer to another entity falls within the rule set forth above, by the Supreme Court, which states that income is taxed to the one who earns it.  The crucial point involved is not the timing of the assignment, but the earning of the income.  Under this well-established rule, petitioner cannot escape the burden of taxation on his earned income by the August 12, 1972, assignment*727  to trust.  In similar situations we have also held that the conveyance of a taxpayer's lifetime services and the income earned therefrom was simply an assignment of income and ineffective to shift the tax burden from the taxpayer to a trust.  Vercio v. Commissioner, 73 T.C. 1246"&gt;73 T.C. 1246, 1254 (1980); Wesenberg v. Commissioner, 69 T.C. 1005"&gt;69 T.C. 1005, 1011 (1978). As we said in American Savings Bank v. Commissioner, supra at 839, the factual background must be carefully scrutinized to determine the person that earns the income.  Considering all of the factors in the instant case can only lead us to conclude that petitioner was the true earner of the income allegedly earned by the trust.  Although the trust may have validity under State law, it did not in fact operate as a separate entity for income tax purposes.  There is no evidence that it kept formal records of its operation, that it had a separate office and equipment, that it held itself out to the public as being separate and independent, that it had separate employees, that it had an enforceable contract with petitioner for the use of his services, or that it had any any of the customary*728  business characteristics.  In essence petitioner simply executed a trust document and agreed to transfer all of his earned income to a trust.  Under these circumstances we fail to see an active operating entity capable of independently earning income.  In addition petitioner's arrangement with the trust lacked economic reality. Except for the provision in the Declaration of Trust providing that an individual was to receive "reasonable compensation" for services performed "as may be determined by a MAJORITY of the Board of Trustees," there was no specific agreement with respect to remuneration or compensation to be paid to any individual by the trust.  Petitioner, in fact, received no guarantees that he would be the recipient of the disbursements.  However, it is unrealistic to conclude that a taxpayer would agree to turn over all of his earned income under such circumstances, unless the taxpayer was actually in complete control of the trust or other entity. Where a trust has no valid purpose other than tax avoidance it loses its economic reality, which, in turn, mandates that we disregard any attempt to shift income to a mere paper entity. 2 See Markosian v. Commissioner, 73 T.C. 1235"&gt;73 T.C. 1235, 1246 (1980).*729 For the taxable year 1975, respondent determined that petitioner's underpayment of tax was due to the negligence or an intentional disregard of rules and regulations. Petitioner has the burden of proof.  Rule 142(a), Tax Court Rules of Practice and Procedure.  Petitioner offered no evidence to refute respondent's determination.  In addition, it is abundantly clear that petitioner engaged in this for the sole purpose of avoiding Federal income taxes.  A prudent person would have sought competent tax advice before going forward with such a scheme.  We therefore sustain respondent on this issue.  To reflect the foregoing, Decision will be entered for the respondent.  Footnotes*. This report is prepared pursuant to Rule 182(b), Rules of Practice and Procedure of the United States Tax Court.↩1. All section references are to the Internal Revenue Code of 1954, as in effect during the tax years in issue, unless otherwise noted.↩2. In addition, since the trust lacked economic reality the interest income it reported is properly taxable to petitioners.  We decide this issue on these grounds without considering respondent's alternative argument, namely, that the interest income is taxable to petitioners under the grantor trust rules of secs. 671 through 678.↩